EXHIBIT 1




            APP 0001
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


JUAN CARLOS EMDEN, MICHEL         §
EMDEN, and NICOLÁS EMDEN,         §
                                  §
     Plaintiffs,                  §                        Case No. 4:21-cv-03348
                                  §
v.                                §
                                  §
THE MUSEUM OF FINE ARTS, HOUSTON, §
                                  §
     Defendant.                   §


                     DECLARATION OF HILLARY KRAMER LYNCH


        I, Hillary Lynch, hereby declare and state as follows:

        1.     My name is Hillary Kramer Lynch and I am over the age of twenty-one. The

testimony contained in this Declaration is based upon my personal knowledge and the facts

stated are true and correct. I am competent to testify to the matters stated in this Declaration.

        2.     I am an attorney with Platt Cheem Richmond PLLC and represent the Plaintiffs in

this action.

        3.     Attached as Exhibit A is a Receipt for Cultural Objects, dated April 15, 1946,

which is a true and accurate copy found in the National Archives and Records Administration’s

digitization of records from microfilm publication M1946, RECORDS CONCERNING THE

CENTRAL COLLECTING POINTS (“ARDELIA HALL COLLECTION”): MUNICH

CENTRAL COLLECTING POINT, 1945–1951.

        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Declaration of Hillary Kramer Lynch                                                                 1

                                                                                                APP 0002
Executed on January 28, 2022.




                                      Hillary Kramer Lynch




Declaration of Hillary Kramer Lynch                            2

                                                             APP 0003
EXHIBIT A




            APP 0004
APP 0005
APP 0006
APP 0007
